     Case 3:08-cr-02018-WQH         Document 107         Filed 08/12/11    PageID.234      Page 1 of 3



 1
 2
 3
 4
 5
 6
 7
 8
                                     UNITED STATES DISTRICT COURT
 9
                                   SOUTHERN DISTRICT OF CALIFORNIA
10
11 MARCO CORRADO,                                    )    Criminal No. 08-CR-2018-L-1
                                                     )
12                         Petitioner,               )
                                                     )    ORDER DENYING MOTION FOR
13 v.                                                )    MODIFICATION OF TERM OF
                                                     )    IMPRISONMENT PURSUANT TO
14 UNITED STATES OF AMERICA,                         )    18 U.S.C. § 3582(C)(2)
                                                     )
15                                                   )    [Doc. No. 106]
                           Respondent.               )
16                                                   )
17          On August 8, 2011, Petitioner, proceeding pro se, filed a Motion for Reduction of Sentence
18 Pursuant to 18 U.S.C. § 3582(c)(2). Petitioner’s motion is based upon amendments to the Federal
19 Sentencing Guidelines pertaining to the use of recency as a factor in the calculation of the criminal
20 history score which became effective November 1, 2010. For the reasons set forth below, the Court
21 DENIES Petitioner’s motion.
22                                              BACKGROUND
23          On April 3, 2009, Petitioner pled guilty to one count of Conspiracy to Distribute
24 Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 846. Applying the advisory Guidelines in
25 effect at the time of Petitioner’s sentencing, the Court determined the advisory range was 121-151
26 months based on an offense level of 29 and a criminal history category of IV. After considering the
27 factors in 18 U.S.C. § 3553(a), the Court sentenced Petitioner to 135 months of imprisonment.
28
     Case 3:08-cr-02018-WQH        Document 107        Filed 08/12/11     PageID.235       Page 2 of 3



 1                                               DISCUSSION
 2          Petitioner now moves for a reduction of his sentence, pursuant to 18 U.S.C. § 3582(c)(2), based
 3 on Amendment 7421 to the Sentencing Guidelines. Amendment 742 eliminated the “recency” points
 4 assessed by U.S.S.G. § 4A1.1(e).
 5          Petitioner is ineligible for a sentencing reduction under § 3582(c)(2) because the Sentencing
 6 Commission has not given Amendment 742 retroactive effect. A court may reduce a defendant’s
 7 sentence under § 3582(c)(2) if the sentence was based on a sentencing range that has been subsequently
 8 amended by the Sentencing Commission. In determining whether a sentence should be modified under
 9 § 3582(c)(2), the court must follow a two-step approach. Dillon v. United States, 130 S. Ct. 2683, 2691
10 (2010). First, the court must determine that a reduction is consistent with the policy statements issued
11 by the Sentencing Commission in U.S.S.G. § 1B1.10. Id. Second, the court must consider whether the
12 authorized reduction is warranted according to the factors set forth in 18 U.S.C. § 3553(a). Id.
13          Section 1B1.10 of the Federal Sentencing Guidelines states “A reduction in the defendant’s term
14 of imprisonment is not consistent with this policy statement and therefore is not authorized under 18
15 U.S.C. § 3582(c)(2) if: (A) none of the amendments listed in subsection (c) is applicable to the
16 defendant; or (B) an amendment listed in subsection (c) does not have the effect of lowering the
17 defendant’s applicable guideline range.” U.S.S.G. § 1B1.10(a)(2). Amendment 742 is not listed under
18 subsection (c). See U.S.S.G. §1B1.10(c). Therefore, this amendment cannot be applied retroactively.
19 Accordingly, the Court does not have the authority to modify Petitioner’s sentence.
20                                              CONCLUSION
21          For the reasons discussed above, Petitioner’s Motion to Reduce Sentence Pursuant to 18 U.S.C.
22 § 3582(c)(2) is DENIED.
23          IT IS SO ORDERED.
24 DATED: August 12, 2011
25
                                                         M. James Lorenz
26                                                       United States District Court Judge
27
            1
28          Petitioner incorrectly refers to the “recency” amendment as Amendment 472. However, the
      amendment to U.S.S.G. § 4A1.1(e) that was effective on November 1, 2010 was Amendment 742.

                                                        2
     Case 3:08-cr-02018-WQH    Document 107   Filed 08/12/11   PageID.236   Page 3 of 3



1 COPIES TO:
2 PETITIONER
      U.S. ATTORNEY’S OFFICE
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               3
